  Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 1 of 31 PageID# 268




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division

                           )                  FILED UNDER SEAL
UNITED STATES OF AMERICA   )
                           )                  No. 1:20-cr-82
v.                         )
                           )                  Hon. Liam O’Grady
JOHN WILLIAM KIRBY KELLEY, )
                           )
    Defendant.             )                  Sentencing: March 15, 2021


                    DEFENSE POSITION ON SENTENCING

      John William Kirby Kelley, who goes by Kirby, was only 17 years old when the

offense conduct in this case began, and 18 when it ended now nearly two years ago.

Having never been incarcerated before, Mr. Kelley has spent the last 14 months

detained at the Alexandria jail, almost entirely during the coronavirus pandemic. No

more jail time is necessary in this case. Since his earliest years, Mr. Kelley has been




                                          . His parents’ divorce had ended with Mr.

Kelley’s father’s disengagement from his two sons. After Mr. Kelley’s arrest, his

mother moved her family away from northern Virginia to avoid the publicity that

came with the arrest and has had only sporadic communication with Mr. Kelley

during his 14 months in jail. Now, 20 years old, Mr. Kelley has had to confront the

facts of his own conduct and the seriousness of his situation without external

supports.
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 2 of 31 PageID# 269
  Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 3 of 31 PageID# 270




swatting. Mr. Kelley does not harbor hateful beliefs in real life. While incarcerated,

he has read and engaged with writings about racism and prejudice. He is hopeful

that one day his association with a fringe white supremacist group will not be the

first thing people see when they Google his name. He certainly has the talents and

curiosity to rise above this unfortunate chapter in his young life. For these and the

reasons that follow, Mr. Kelley asks this Court to grant him the ability to begin his

next chapter, by imposing a time-served sentence and a period of supervision that

will enable him to transition successfully to independent living.

      Mr. Kelley makes this sentencing request acknowledging that the conspiracy

in which he participated was broad and destructive and understandably triggers

public outrage. But punishment is not a zero sum game: The charged conspirators

should not be punished to make up for the actions of the uncharged. For all of the

reasons detailed herein, a particularized sentencing in this case accounts for Mr.

Kelley’s challenges and efforts and allows him—finally—to engage with the

appropriate resources.    The government’s request that this Court impose the

statutory maximum makes no mention of Mr. Kelley and his personal history and

characteristics, instead asking this Court to focus exclusively on the offense and to

place the entire weight of the conspiracy on Mr. Kelley’s young shoulders. Such an

approach neglects the statutory commands of 18 U.S.C. § 3553(a).




                                          3
     Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 4 of 31 PageID# 271




I.      Factual and Procedural History2

        When Mr. Kelley was 17 years old and a senior in high school, he created an

online chatroom channel called Deadnet.org. The site, which was reachable by typing

the URL into the address bar of an internet browser or via a provided link, was a

place for Kirby and friends he had met playing video games to “meet up” and chat,

the online equivalent of hanging out.

                                         . He felt he did not fit in at his high school

and struggled to find friends. Instead, he made friends playing video games. 3 At the

beginning, Mr. Kelley and four friends would use Deadnet as a virtual hangout space.

The number of friends who had access grew as members invited others to join them.

The chatters used monikers instead of their real names: Mr. Kelley’s was “carl.”

        As Mr. Kelley tells it, friends invited friends to the Deadnet site broadening

the group of people who spent time hanging out in the chat room. The language took


2 Mr. Kelley signed the plea agreement in this case on March 25, 2020, well before
any indictment deadline and receiving full discovery. As a result, the defense is
unfamiliar with the factual basis for a number of the assertions in the government’s
sentencing memorandum, Dkt. No. 39. For example, in the Affidavit, Dkt. No. 2, the
government listed dozens of swatting incidents by police department but without any
other identifiers such as dates, times, address targeted, etc. Although the defense
requested more specifics, none were received and certainly none of the underlying
factual information, such as police reports or 911 calls, ever was produced. Thus, the
descriptions of specific swatting events in the government’s memorandum are new to
the defense, which has no way of verifying their accuracy.
3Contemporary video games are online and have a social component. Multiple people
can play the same game, and players often form teams or alliances to work together
toward a common goal or to work against an adversary. While playing, gamers often
participate in simultaneous chatting about the game, other players, and their lives.
Many games come with a chat feature built in, but gamers also may log onto to a
separate channel to chat about what they are doing.

                                           4
  Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 5 of 31 PageID# 272




on a more hateful tinge. Several of the site participants espoused white supremacist

views. Mr. Kelley did not push back on this and adopted their language. It is worth

noting that one of the most prolific and poisonous chatters was a teenager from West

Virginia, younger than Mr. Kelley. This individual went by the moniker             and

is identified as a co-conspirator in the Affidavit in this case, Dkt. No. 2. Counsel

understands he was not charged federally because of his age.

      The group also adopted the dangerous and threatening pastime of swatting

various victims. A member of the group would pick the target, then all would listen

in—and sometimes watch if the location had a camera feed the group could access—

as one person called in a threat to local law enforcement to provoke a crisis response

to the victim’s home or business. This was entertainment for Mr. Kelley and his

friends, but, of course, it came with serious risks to the victims and law enforcement.

      In the summer of 2018, Mr. Kelley left home for the first time to attend college

at Old Dominion University in Norfolk, Virginia. He had just turned 18 years old in

August. He did not feel ready for college. He had struggled to interact with his peers

while living with his mother and brother in his childhood home. Now, he would be

on his own navigating more rigorous academic coursework and a foreign social

environment. All of this would be hours from home in a place where he knew no one.

His online Deadnet peer group remained intact, however, and Mr. Kelley became

more immersed in this virtual world. That fall, as Mr. Kelley was attempting to

adjust to college, new members joined the Deadnet peer group who brought with them

more crystallized white supremacist views.        These newcomers, including John



                                          5
    Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 6 of 31 PageID# 273




Denton, a co-conspirator whose case also is pending before this Court, see United

States v. Denton, 1:20-cr-154, were invited by one of the more active Deadnet

members, an uncharged co-conspirator in this case. Mr. Denton used the monikers

“Rape,” “Death” and “Tormentor.”

       Mr. Kelley suggested the group swat his school, which they did on November

28, 2018, resulting in significant disruption on the ODU campus. 4 Mr. Kelley was so

nervous about the incident that he dialed campus police, then hung up. The phone

call allowed law enforcement to identify Mr. Kelley as an ODU student and a person

of interest. Not long after, they knocked on his dorm room door. During subsequent

questioning, Mr. Kelley admitted his involvement with the swatters and consented

to a search of his cell phone. Mr. Kelley’s peers on Deadnet jibed him for the hang-

up call. See Affidavit, Dkt. No. 2, ¶ 37. Six days later, the Deadnet group swatted

ODU a second time.

       The group was prolific.    Even before the ODU swatting, the young West

Virginia member had selected the Alfred Street Baptist Church in Alexandria,

Virginia, as a swatting target.    In January 2019, a group member selected the

Alexandria home address of                           . Although the latter attempted



4 The government’s sentencing memo gives the impression that Mr. Kelley may have
been the person who made the threatening call triggering the SWAT response.
However, the government omits that
                                       As well, a key link implied between the caller
and Mr. Kelley in the Affidavit was just plain wrong: The ODU caller told the
dispatcher he took a prescription medication that the Affidavit says was later found
in Mr. Kelley’s dorm room; in fact, the medication mentioned by the caller was not
the medication found in Mr. Kelley’s dorm room, an error that was never corrected.

                                         6
    Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 7 of 31 PageID# 274




swatting was thwarted by the U.S. Secret Service monitoring the official’s home, the

incident prompted a federal investigation.

       Four days later, Mr. Kelley was arrested in his dorm room and charged with

possessing hallucinogenic mushrooms, a felony under Virginia law, and soon after

expelled from ODU. The arrest and expulsion in February 2019 sharply changed Mr.

Kelley’s course. He returned to his mother and step-father’s home in Herndon.

       The arrest catalyzed a course correction by Mr. Kelley. He ultimately pled

guilty to the felony possession charge, in return for deferred adjudication, and was

placed on two years of probation. 5 Mr. Kelley got a job that he enjoyed working at a

pizza restaurant in Fairfax. PSR ¶ 90. He performed 100 hours of community

service. PSR ¶ 64. And, he enrolled in Northern Virginia Community College. PSR

¶ 88. Although life in his mother’s house was volatile—he was counseled to move out

of his mother’s home by Fairfax probation, which he did in December 2019—Mr.

Kelley passed 2019 uneventfully and otherwise relatively happily. He had no contact

with the Deadnet group since the early spring. 6 In early December 2019, Mr. Kelley

moved in with his maternal uncle,                , who reported that afterwards Mr.

Kelley seemed calmer and more engaged with those around him.



5 Counsel does not believe that Mr. Kelley’s federal criminal conduct gives rise to a
state probation violation allegation, because Mr. Kelley did not begin his state
probation until May 22, 2019, after the conduct in the instant case ceased.
6 The government has said that Mr. Kelley was in contact with members of the
Deadnet group until about April 2019. Mr. Kelley does not deny that, however, he
does not recall having substantive involvement with the group after his electronics
were seized by the Secret Service in early February 2019.

                                         7
      Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 8 of 31 PageID# 275




         On January 10, 2020, Mr. Kelley, then 19 years old, was arrested at his uncle’s

 home. Just two weeks before the first novel coronavirus case would be reported in

 the U.S., Mr. Kelley was booked into the Alexandria Adult Detention Center. None

 of his family members volunteered to house him if he were released on bond, so, with

 nowhere to go, Mr. Kelley did not seek release at his detention hearing. See Minute

 Entry, Dkt. No. 10 (Jan. 15, 2020). He was placed in the mental health unit at the

 jail and has remained there since.

         On March 25, 2020, the parties notified this Court that Mr. Kelley intended to

 plead guilty pursuant to a plea agreement. Due to scheduling complications in light

 of the pandemic, the plea hearing was held on July 21, 2020. Sentencing is set for

 March 15, 2021.

II.      Legal Standard

         This Court’s primary directive at sentencing is to “impose a sentence sufficient,

 but not greater than necessary, to comply with the purposes” of sentencing—that is,

 the minimum amount necessary. 18 U.S.C. § 3553(a). The Sentencing Guidelines

 are just that, guidelines. See United States v. Booker, 543 U.S. 220, 259-60 (2005).

 Moreover, the Guidelines are only one of more than a half-dozen statutory sentencing

 factors enumerated in 18 U.S.C. § 3553(a) that this Court must take into

 consideration in fashioning the appropriate sentence. 7


 7 Those factors include: (a) the nature and circumstances of the offense and the
 history and characteristics of the defendant, (b) the kinds of sentences available, (c)
 the guideline range, (d) the need to avoid unwarranted sentencing disparities, (e) the
 need for restitution, and (f) the need for the sentence to reflect the following: the
 seriousness of the offense, to promote respect for the law and to provide just
 punishment for the offense, to afford adequate deterrence, to protect the public from
                                             8
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 9 of 31 PageID# 276
    Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 10 of 31 PageID# 277




He recognizes that, with his history and diagnoses, his transition to independent

living will take commitment and patience on his part, as well as help where he can

find it. Mr. Kelley’s participation in planning for his future is indicative of how

seriously he is approaching the lessons of this case and working to avoid any future

recurrence. In short, it is evidence that the 14 months Mr. Kelley has served have

been a powerful deterrent. Permitting this 20-year-old young man now to turn

toward his future would be just and promote respect for the law. Mr. Kelley’s release

will be supervised closely, not just by the U.S. Probation Office for any period of

supervised release,

      , which will foster Mr. Kelley’s successful transition and bright future.

        A.     The Guidelines calculation in the PSR is improperly inflated.

        The correctly calculated offense level in this case is 15, with credit for accepting

responsibility. The PSR includes two victim-related enhancements, under USSG §§

3A1.1(a) and § 3A1.2(b), that do not properly apply in this case—accounting for 9

points that should not be included in the offense level.           Applying the correctly

calculated offense level of 15 results in an advisory Guidelines range of 18 to 24

months. 8

        The government bears the burden of proving the applicability of a sentencing

enhancement. See, e.g., United States v. Adepoju, 756 F.3d 250, 257 (4th Cir. 2014).



8If only the § 3A1.1(a) enhancement were applied, the total offense level would be 18,
and the advisory Guidelines range would be 27 to 33 months. If only the § 3A1.2(b)
enhancement were applied, the total offense level would be 21, and the advisory
Guidelines range would be 37 to 46 months.

                                             10
    Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 11 of 31 PageID# 278




Should the Court overrule the following objections, the defense nevertheless submits

that a variant sentence is appropriate in Mr. Kelley’s case.

                 1. The high standard for applying the § 3A1.1 enhancement
                    (hate crime motivation) is not met with respect to Mr.
                    Kelley.

        The defense objects to the application of the USSG § 3A1.1(a) hate crime

enhancement in Mr. Kelley’s case. The enhancement’s language is worded especially

narrowly, setting it apart from other enhancements in the Guidelines. Specifically, §

3A1.1(a) requires a finding beyond a reasonable doubt that the defendant

intentionally selected the victims because they belonged to a protected class. 9 There

is no evidence in the record that Mr. Kelley selected swatting targets due to their race

or any other protected status. The swatting that Mr. Kelley is most closely linked to

and known to have chosen was his school, motivated by the desire to avoid class.

        The only target that the government has identified as having been racially

motivated was the Alfred Street Baptist Church in Alexandria. Although it appears

that one of Mr. Kelley’s co-conspirators did select the Church because he thought it

was an “African American church,” see United States v. Denton, No. 1:20-cr-154, Dkt.

No. 2, ¶ 71, the defense is unaware of evidence that Mr. Kelley (or the conspiracy

generally) knew of this motivation. Accordingly, the assertions in the statement of

facts cannot satisfy the particularly high standard required by § 3A1.1(a).




9Ordinarily the proponent of a Guidelines enhancement must meet a preponderance
of the evidence standard. USSG § 6A1.3 cmt.
                                          11
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 12 of 31 PageID# 279




                2. The § 3A1.2 enhancement (official victim) should not be
                   applied to Mr. Kelley.

       The defense objects to the application of a 6-point enhancement under USSG §

3A1.2. Although the government has advised that a government official’s residence

was the target of an attempted swatting, we are unaware of any evidence showing

that Mr. Kelley knew who lived at that residence or even that the members of the

conspiracy generally knew whose home it was. Although § 3A1.2 does not contain

the especially high standard that § 3A1.1 does, it does require at the very least that

the defendant knew that the victim was a government official and was motivated by

that status. See USSG § 3A1.2(a)(2) (requiring that offense of conviction be motivated

by victim’s official status). Given that it is unclear whether the co-conspirators—

much less Mr. Kelley—knew whose home it was when they committed that swatting,

the conclusion that the person’s status was actually a motivation for the swatting is

unsupported.

       Moreover, the Guideline requires that the “offense of conviction” have been

motivated by the victim’s official status.    This requirement applies to both the

enhancement’s 3-point and 6-point application. The offense of conviction in Mr.

Kelley’s is conspiracy to commit interstate threats. There is no evidence that the

conspiracy was motivated by the status of a victim whose involvement in the offense

did not come into play until months later.

       For these reasons, the defense submits that § 3A1.2(a)(2) is not demonstrated

by a preponderance of the evidence in this case and, therefore, neither § 3A1.2(a) nor

(b) applies.


                                         12
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 13 of 31 PageID# 280




                 3. In the alternative, a downward departure is appropriate
                    because the advisory Guidelines range in this case is
                    inflated in a manner that does not fit with Mr. Kelley’s
                    conduct.

      If the Court overrules the defense’s Guidelines objections, then the Guidelines

will recommend a sentence at the statutory maximum for Mr. Kelley. Mr. Kelley

recognizes that the conduct in this case was serious and risked real danger to

unwitting victims and law enforcement. However, Mr. Kelley and Mr. Denton—who

are very differ starkly in personality, background and culpability—appear to be the

only members of the group who will be held responsible for the actions of the

conspiracy because the other members, a number of them at least equally culpable,

were minors or located outside the U.S. or both. It is fair that Mr. Kelley be held to

account, but he should be held to account for his specific role and culpability. For this

reason as well as the others discussed below, this Court should depart downward

from the advisory Guidelines range. See, e.g., USSG § 5H1.1 & 1.3 (authorizing

downward departures due to mitigating circumstances of defendant’s age and mental

and emotional conditions); § 5K2.0 (authorizing downward departures for other

reasons, such as circumstances not fully taken into account in the Guidelines).

      The advisory Guidelines in this case are driven overwhelmingly by the “official

victim” enhancement, which accounts for 6 points of a total of 24.             Yet, the

conspiracy’s single attempted swatting of a government official does not merit this

central role in determining Mr. Kelley’s sentence.       First, as recounted above in

Section III.A.2, there is no evidence that Mr. Kelley, or any of the conspirators, knew

the swatting call was aimed at a government official. Second, as far as the defense is


                                           13
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 14 of 31 PageID# 281




aware this was the only attempt to swat a government official. Doing so was not an

object of the conspiracy, although it is clear Mr. Kelley and his peers were not that

particular as to who their target was. Third, this swatting actually (fortunately) was

unsuccessful. The defense understands that the Secret Service were called by law

enforcement before any emergency response was dispatched and advised that that

there was nothing amiss at the home. No SWAT team was sent.

        Additionally, the defense submits that the 3-point hate crime enhancement

overweights the advisory Guidelines range for Mr. Kelley’s conduct.        Mr. Kelley

admits that he engaged in hateful speech with his peers in the Deadnet chat, a choice

he deeply regrets and that is at odds with Mr. Kelley’s actions towards people of other

races, creeds, and gender, as his former teachers attest. See Ltr. of John Kelley,

attached as Exhibit 1; Ltrs. of Cristian Manoatl & Deborah Kitchell, attached as part

of Exhibit 2. But Mr. Kelley himself did not join this conspiracy with an aim of

targeting people based on race or gender (or any other protected class). Rather, the

group’s primary target criteria seemed to be knowledge of the person’s address and

the accessibility of a video feed. The chat group, made up mostly of teenagers, was

prolific in using deeply offensive language, but was not organized around targeting

people of a specific race or other characteristic.

      The purpose of each enhancement is to provide additional punishment and

deterrence to crimes against certain classes of victims. Mr. Kelley did not select

either target, and there is no evidence that Mr. Kelley understood the motivation

behind either swatting. Consequently, any enhancement of his sentence based on



                                           14
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 15 of 31 PageID# 282




these characteristics would be punishing him for mental states he did not have and

attempting to deter specific conduct to which he did not contribute.

                4. The defense objects to the vague and unnecessarily broad
                   proposed Standard Condition of Supervision No. 13.

      The defense objects to proposed Standard Condition No. 13 because, as worded,

it is breathtakingly broad and, thus, improperly delegates a judicial function to the

probation officer. PSR at 18. Standard conditions are laid out in the Sentencing

Guidelines, USSG § 5D1.3(c), but are neither statutory nor mandatory. See 18 U.S.C.

§§ 3563 & 3583 (not listing broad notification provision among statutory conditions);

United States v. Booker, 543 U.S. 220, 259-60 (2005) (Sentencing Guidelines are not

mandatory). Moreover, this is not a case that naturally calls for notification of third

parties under specific situations, such as a fraud and drug diversion cases often do.

That said, to the extent that some kind of notification is deemed necessary, the

defense would consider agreeing to a more narrowly tailored requirement.

      As worded, however, Standard Condition No. 13 is susceptible to amorphous

interpretation: How would someone know what “risks” is meant to mean? What

kinds of “risks”? To who? How far is the term “third parties” to be construed?

Delegating this broad decision-making power over Mr. Kelley’s liberty on supervised

release is impermissible. See, e.g., United States v. Shiraz, 784 F. App’x 141, 143-44

(4th Cir. 2019) (court’s delegation to probation officer of what type of business

defendant could operate was improper). Faced with a similar objection in a fraud

case—which more commonly would engender a notification condition—Judge Ellis

agreed Standard Condition No. 13 was too broad and imposed a narrower notification


                                          15
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 16 of 31 PageID# 283
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 17 of 31 PageID# 284




                                   17
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 18 of 31 PageID# 285




                                   18
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 19 of 31 PageID# 286




             2. Mr. Kelley’s pre-teenage and early teenage years were
                marked by escalating conflict with his mother and step-
                father, and inadequate attempts at holistic treatment.




                                   19
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 20 of 31 PageID# 287
Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 21 of 31 PageID# 288
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 22 of 31 PageID# 289




                                                    . The Office of the Federal Public

Defender staff also will stay involved to coordinate with the CSB team and U.S.

Probation to fill in any gaps in support.

                 5. Despite the struggles he has had in his young life, Mr.
                    Kelley possesses many protective factors that will support a
                    productive transition to the community.

      Mr. Kelley has adjusted well to the structured and supportive environment of

jail, including active participation in therapy and working as the unit trustee. He

has used the experience to learn about himself and his interactions with others, and

he looks forward to applying his new skills and confidence in the community.

      Lacking traditional family support throughout this experience, Mr. Kelley has

worked hard to cobble together a community of support, including reconnecting with

his father and grandmother, reaching out to old friends and reconnecting with

educational mentors. This group of compassionate and empathetic individuals who

have known Mr. Kelley in different contexts consistently describe him as hard-

working, respectful and encouraging. See Letters of Support, attached as Exhibit 2.

      A theme throughout the letters is the promise that Mr. Kelley’s future holds

as he possesses many skills and traits that will translate into productive and fulfilling

employment. His high school teacher, Cristian Manoatl, shares how Mr. Kelley took

a special interest in helping other students with disabilities, as he was able to

understand and connect with them. Mr. Manoatl poignantly describes Kirby as “a

student with humanity, humility, and genuine compassion for others—especially

those who are cast aside or not accepted by others.” Ltr. of Cristian Manoatl (Exhibit
                                            22
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 23 of 31 PageID# 290




2). Mr. Manoatl’s fondness for Mr. Kelley was such that he has asked to reconnect

with Kirby to help support him as he transitions to the community. Mr. Kelley looks

forward to showing the rest of the world the humble, positive, and caring person that

his favorite teacher describes.

          D. Application of the 18 U.S.C. § 3553(a) sentencing factors
             demonstrates that a time-served sentence followed by a period
             of supervised release with mental health and other support
             services is a sentence sufficient but not more than necessary
             under the circumstances of this case.

      The § 3553(a) sentencing factors can be achieved through the 14-month

sentence Mr. Kelley already has served, as well as a period of supervised release with

mental health counseling and other support from the Probation Office and Fairfax

CSB, which is prepared to assist Mr. Kelley upon his eventual release. These services

will assist Mr. Kelley in learning to live independently, as all parties agree that is his

best path forward and the most likely to capitalize on the lessons that this prosecution

has imparted. Even before his arrest, Mr. Kelley had abandoned the conspiracy and

his criminal conduct and was working and re-engaging in college classes. In short,

Mr. Kelley already had made progress on his own before this intervention. More time

in prison will not assist his successful return to society, nor is it needed to provide

further deterrence to this young man or others similarly situated.

                 1. A time-served sentence of nearly 14 months would
                    constitute adequate deterrence to Mr. Kelley and others.

      Before his arrest in this case, Mr. Kelley had never been incarcerated before.

His single prior offense—possession of hallucinogenic mushrooms in his college dorm

room—occurred contemporaneously with the instant conduct and resulted in a


                                           23
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 24 of 31 PageID# 291




deferred disposition. (By all indications Mr. Kelley successfully completed the terms

of his probation in that case.) Mr. Kelley now has spent 14 months in jail and done

so during the coronavirus pandemic. This has been a terrifying and eye-opening

experience. These 14 months have been sufficient to send a grave message to Mr.

Kelley about how seriously he must consider the choices he makes, the consequences

to others of his actions, and the peers with whom he associates.

      This Court need look no further than Mr. Kelley’s own conduct to determine

that he has been deterred. For at least nine months before his arrest, Mr. Kelley had

been living a law-abiding life, abiding by the terms of his Norfolk probation.      He

worked at a Fairfax pizza restaurant. He completed his court-ordered community

service. He applied for a student loan and enrolled in NOVA. He did these things on

his own, before this prosecution intervened. The arrest by campus police after the

ODU swatting and the later raid on his dorm room by the Secret Service were enough

to scare Mr. Kelley to reform his behavior. Jail time in addition to those events and

this felony conviction has added even more heft to that message. More is not needed.

                2. A sentence of 14 months will act as a deterrent to others
                   similarly situated to Mr. Kelley.

      A 14-month sentence in prison and federal felony conviction are substantial

enough to deter others similarly situated to Mr. Kelley, that is, others with limited or

no experience with the criminal justice system and who are young, have deficits that

can make them impressionable and desperate for social acceptance where they can

find it, recognize the error of their ways and move on, and are capable of planning

productively for their future even without family support. See, e.g., Pepper v. United


                                          24
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 25 of 31 PageID# 292




States, 562 U.S. 476, 488 (2011) (holding that sentencing courts must “ensure[] that

the punishment will suit not merely the offense but the individual defendant”).

However, the only other co-conspirator charged for the offense conduct, John

Cameron Denton, is not similarly situated to Mr. Kelley. As a result, the defense

submits that this Court should not treat these two defendants similarly.

      First, Mr. Denton is meaningfully older. As the defense understands it, Mr.

Denton is now in his late 20s and had held long-term employment in his hometown

around the time of this conduct. See Motion to Revoke Bond Order, United States v.

Denton, No. 1:20-cr-154, Dkt. No. 18 at 4-6 (March 25, 2020). Mr. Kelley was barely

an adult when this conduct occurred. Second, it appears that Mr. Denton has not

faced the same hardships in his upbringing that Mr. Kelley has. For example, Mr.

Denton was able to seek a bond citing his large, supportive and well-connected family

in Texas who would assist him were he released. See id. Mr. Kelley has no such

family support. Third, at least to the defense’s knowledge gleaned largely from bond

pleadings, it appears that Mr. Denton does not have the significant and relevant

cognitive deficiencies from which Mr. Kelley suffers. That is, Mr. Denton’s hate

speech appears rooted largely in ideology, while Mr. Kelley’s was a function of his

isolation and misguided efforts to fit into this social group. Those who know Mr.

Kelley report that he did not express such views to them, but rather was a respectful

and kind peer to classmates who looked or thought differently from him. See Ltrs. of

Cristian Manoatl & Deborah Kitchell (Exhibit 2). Fourth, Mr. Denton apparently

was a founding member of Atomwaffen, an online white supremacist group, who was



                                         25
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 26 of 31 PageID# 293




actively recruiting minors to join the group. See Affidavit, United States v. Denton,

No. 1:20-cr-154, Dkt. No. 2 ¶ 74. Although Mr. Kelley was involved in maintaining

websites used by some members of that group, Mr. Kelley did not consider himself a

member and had no defined role in that group. Fifth, Mr. Kelley left the Deadnet

peer group in April 2019 at the latest and moved on with his life. Mr. Denton was

apparently engaged in white supremacist conduct up until his arrest in February

2020. See id. The dissimilarity between Mr. Denton and Mr. Kelley is perhaps best

illustrated by the monikers each used online:        Mr. Denton went by “Rape,”

“Tormentor,” and “Death.” Mr. Kelley went by “Carl.”

      For those like Mr. Kelley who face incarceration for the first time at a young

age and through the lens of diagnosed deficits, a sentence of 14 months will send a

message that hateful and threatening conduct will be punished severely, with a

federal felony conviction and a substantial period of jail time. Even apart from the

sentence imposed, federal felony prosecution sends a message that the sort of conduct

in which Mr. Kelley and his peers engaged is not simply online role-playing with

distant but dissociated targets, but is instead deadly serious with real-life, long-

lasting consequences. Coupled with a sentence of more than a year of incarceration

the message will resound to those like Mr. Kelley contemplating similar criminal

conduct.

      Virtually no empirical data suggests that harsher (lengthier) sentences achieve

better general deterrence than moderate sentences. The Department of Justice itself

concedes that longer sentences are minimally correlated to deterrence: The “certainty



                                         26
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 27 of 31 PageID# 294




of being caught is a vastly more powerful deterrent than punishment.” See, e.g., Nat’l

Instit. of Justice, Five Things About Deterrence (second emphasis added). 10 See also

Valerie Wright, Deterrence in Criminal Justice: Evaluating Certainty vs. Severity of

Punishment, at 1 (2010).     Findings regarding general deterrence are relatively

settled: “[G]eneral deterrence works in the absolute sense: there is a connection

between criminal sanctions and criminal conduct. However, there is insufficient

evidence to support a direct correlation between higher penalties and a reduction in

the crime rate. . . .” Mirko Bagaric, A Rational Theory of Mitigation and Aggravation

in Sentencing: Why Less Is More When It Comes to Punishing Criminals, 62 Buff. L.

Rev. 1159, 1202-03 (2014) (footnotes omitted). In sum, “studies repeatedly show that

awareness of potentially severe sanctions does not produce less crime.” Id. at 1203.

So general deterrence “does not require a particularly burdensome penalty, merely

one that people would seek to avoid,” which “could be satisfied by a fine or a short

prison term.” Id. at 1205.

      In fact, research has found that longer sentences may, in fact, be counter-

productive. See DOJ, Five Things About Deterrence, supra. In Mr. Kelley’s case, his

deficits may be compounded by a longer period of imprisonment in the BOP, which

almost certainly would put him in an even harsher and potentially traumatizing

environment than the Alexandria jail. See Boyd Report at 22-23.




10   Available   online   at   <https://nij.ojp.gov/topics/articles/five-things-about-
deterrence>. The National Institute of Justice is the research and development
agency of the DOJ. See About NIJ, available online at <https://nij.ojp.gov/about-nij>.
                                         27
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 28 of 31 PageID# 295




                3. The need to reflect the seriousness of the offense, promote
                   respect for the law, and provide for just punishment.

       Mr. Kelley is not asking to escape punishment. He recognizes that his conduct

caused real harms to individuals as a result of the trauma and force that resulted

from SWAT deployments to target residences and businesses. The defense submits,

though, that 14 months incarcerated followed by a period of supervision is sufficient

punishment under the circumstances.

       Just punishment need not be achieved strictly through jail time. Indeed, §

3553(a) directs courts to consider alternatives to imprisonment. See 18 U.S.C. §

3553(a)(3) (instructing courts to consider “the kinds of sentences available”). A period

of supervised release is a significant sanction, too, because of its impingement on an

individual’s liberty. See Gall v. United States, 552 U.S. 38, 44, 48 (2007) (supervision

is a “substantial restriction of freedom”).    See also 18 U.S.C. § 3583(d) (listing

conditions of supervised release). Mr. Kelley also will owe restitution to ODU, as he

has agreed, an additional sanction certainly not contemplated by him—or probably

any of his peers—when concocting their swatting scheme. Additionally, the felony

conviction carries collateral consequences that will follow Mr. Kelley for the rest of

his life.

       Further, any just sentence should take into consideration the conditions of

incarceration created by the coronavirus pandemic, under which Mr. Kelley has

served for a year now and which do not promise to subside for months to come, despite

the arrival of vaccines. The Alexandria jail has made extensive use of lockdowns—

when inmates are confined to their cells for up to 24 hours a day for days at a time—


                                          28
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 29 of 31 PageID# 296




to control infection. Mr. Kelley reports his unit has been under lockdown for about

two months during which he has been allowed out of his cell twice a day for three

hours total. Educational and treatment programs at the jail were suspended in

March 2020 and remain so. Contact with family and friends has been limited to

phone calls and the recent addition of very brief video calls. Mr. Kelley has had to

engage in his criminal case almost entirely through brief videoconferences and

telephone calls with his lawyer, a consequence of the pandemic that requires a

defendant to trust more than usual in his counsel. Yet, even under these constrained

conditions, Mr. Kelley has been engaged and cooperative.

                4. Respect for the law requires tempering incarceration with
                   other sentencing considerations, including rehabilitation.

      The criminal justice system does not earn respect only by imposing punitive

sentences of incarceration. Rather, that the system can recognize the underlying

causes of a person’s misconduct and help that person address those causes—in lieu of

just locking him up—is at least as likely to engender respect. This is because doing

so demonstrates a commitment to recognizing the unique circumstances of each

individual and acting to avoid future criminality, stated goals of sentencing. See 18

U.S.C. § 3553(a)(1) & (2)(B)-(C).

      In this case, a time-served sentence would foster Mr. Kelley’s success. It would

avoid his transfer to the BOP, which poses health risks due to the ongoing pandemic

and more long-term traumatic risks due to Kirby’s age and vulnerabilities. Releasing

Mr. Kelley at this juncture also would allow support services to step in at a time when

he is in a relatively healthy and positive place. See Ltr. of John Kelley (“If I had the


                                          29
       Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 30 of 31 PageID# 297




      insight and support I do now . . .”), attached as Exhibit 1. His 14 months at the

      Alexandria jail have been in the mental health unit, a small unit where he benefitted

      from the low inmate population and had the ability to see a counselor occasionally.

      Mr. Kelley and undersigned counsel have been working with the Fairfax CSB as

      described above in Section III.C.4 to secure support services to assist his transition.

      Although the timing of Mr. Kelley’s release does not necessarily affect the availability

      of these services, they would dovetail well with what counseling he has received at

      the jail, his cooperative and supportive relationship with counsel, and the positive

      outlook he has maintained despite his circumstances.

            In the months after Mr. Kelley was expelled from ODU, he picked himself up

      and demonstrated that he can be productive and manage multiple responsibilities.

      He held a job, applied for and received financial aid for college, began taking classes

      at NOVA, and completed the 100 hours of community service required by his Norfolk

      probation. This is a promising start for a young man who has had to overcome

      significant hurdles since his earliest years. He has now been sufficiently punished

      for his criminal conduct, but that punishment has not yet derailed the progress he

      had begun to make. A sentence of time-served would allow Mr. Kelley to take the

      lessons he has learned and now turn his focus to his future under careful supervision.

IV.         CONCLUSION

            Accordingly, the defense respectfully asks that this Court impose a sentence of

      time served and a period of supervised release with mental health counseling.

                                              Respectfully submitted,

                                              JOHN WILLIAM KIRBY KELLEY
                                                30
 Case 1:20-cr-00082-LO Document 43 Filed 03/10/21 Page 31 of 31 PageID# 298




                                       By counsel,

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                          CERTIFICATE OF SERVICE
      I hereby certify that on this 9th day of March, 2021, I will file the foregoing
using the CM/ECF system, which will serve copies on counsel of record.

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                                         31
